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 9   Counsel for Plaintiff J. Doe
10

11                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN JOSE DIVISION
13
     IN RE ACCELLION, INC. DATA                        Case No. 5:21-cv-01155-EJD
14   BREACH LITIGATION
                                                       Class Action
15
                                                       NOTICE OF CHANGE OF ADDRESS
16                                                     FOR ATTORNEY JOEL B. STRAUSS
17   This Document Relates to:                         Judge: Hon. Edward J. Davila
18         ALL ACTIONS.
19

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                                                                               Case No. 5:21-cv-01155-EJD
                            NOTICE OF CHANGE OF ADDRESS FOR ATTY JOEL B. STRAUSS
         Case 5:21-cv-01155-EJD Document 146 Filed 03/02/23 Page 2 of 3



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE THAT, effective February 21, 2023, the New York office of

 3   Kaplan Fox & Kilsheimer LLP has relocated, and the address information for attorney Joel B.

 4   Strauss has changed. The new address is:

 5                                     Kaplan Fox & Kilsheimer LLP
                                       800 Third Avenue, 38th Floor
 6                                        New York, NY 10022
 7          The phone and fax numbers, and email address for Mr. Strauss remains the same.

 8
                                                Respectfully submitted,
 9
                                                KAPLAN FOX & KILSHEIMER LLP
10
      DATED: March 2, 2023                      By: /s/ Joel B. Strauss
11                                                      Joel B. Strauss
12                                              Joel B. Strauss (admitted pro hac vice)
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                                                     -1-                       Case No. 5:21-cv-01155-EJD
                             NOTICE OF CHANGE OF ADDRESS FOR ATTY JOEL B. STRAUSS
         Case 5:21-cv-01155-EJD Document 146 Filed 03/02/23 Page 3 of 3



 1                                            PROOF OF SERVICE

 2             On this date, March 2, 2023, I caused the aforementioned document entitled “Notice of

 3   Change of Address for Attorney Joel B. Strauss,” to be electronically filed with the Court’s

 4   CM/ECF system, which provides notice of such filing to all parties registered for e-service in this

 5   action.
               Additionally, I caused the document to be served via United States first class mail, upon the
 6
     following party, at the address indicated below:
 7

 8                                             Niels Jon Melius
                                   Skadden, Arps, Slate, Meagher & Flom LLP
 9                                            525 University Ave.
                                             Palo Alto, CA 94301
10             I am readily familiar with my firm’s processing of United States first class mail, and that
11   process is that the documents are enclosed in pre-paid sealed envelopes, addressed as indicated
12   above, and deposited with the United States Post Office during the ordinary course of business, on
13   the same date as this Proof of Service.

14             Executed this 2d day of March, 2023 at New York, New York.

15
                                                                    /s/ Joel B. Strauss
16                                                                      Joel B. Strauss

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                                                        -2-                       Case No. 5:21-cv-01155-EJD
                                NOTICE OF CHANGE OF ADDRESS FOR ATTY JOEL B. STRAUSS
